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  14
                                                UNITED STATES DISTRICT COURT
  15
                                 CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  16
       Steven Schneider, individually and on               Case No. 2:18-cv-00367-RGK-AS
  17   behalf of all others similarly situated,
  18                                        Plaintiff,        STIPULATION OF DISMISSAL
  19                v.
  20   Ford Motor Company, a Delaware
  21   Corporation, and Does 1-50, inclusive,

  22                                        Defendants.

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                                                                  STIPULATION OF DISMISSAL, NO. 2:18-CV-00367


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   1                Plaintiff Steven Schneider and Defendant Ford Motor Company (“Ford”) hereby stipulate

   2   and agree that, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, all claims

   3   asserted by Plaintiff Steven Schneider are dismissed with prejudice.

   4   Dated: November 27, 2019

   5                                            Respectfully submitted,

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   7
       /s/John J. Nelson                                       /s/Michael L. Turrill
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                                                               STIPULATION OF DISMISSAL, NO. 2:18-CV-00367



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